   Case 5:20-cv-01717-SVW-SHK Document 16 Filed 10/08/20 Page 1 of 18 Page ID #:53
                                                                                                     CLERK, U.S. DISTRICT
                                                                                                                            COURT
                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA                                         OCT - g~
                                                                                                   CENTRgL DI   RIC OF
                                     NOTICE OF DOCUMENT DISCREPANCIES                              BY                  CALIFORNIA
                                                                                                                ~         ^EPUTY

To: C~ U.S. District Judge / ❑ U.S. Magistrate Judge Stephen V. Wilson
From: J. Gutierrez                                         ,Deputy Clerk             Date Received: 9/30/2020
Case No.: 5:20-cv-01717-SVW-SHKac                 Case Title: Brian Estrada v. Farmer's Insurance et al
Document Entitled: Answer to Complaint/ Proof of Service


Upon the submission of the attached document(s), it was noted that the following discrepancies exist:

              ❑ Local Rule 5-4.1         Documents must be filed electronically
              ❑ Local Rule 6-1           Written notice of motion lacking or timeliness of notice incorrect
              ❑ Local Rule 7-19.1        Notice to other parties of ex parte application lacking
              ❑ Local Rule 7.1-1         No Certification of Interested Parties and/or no copies
              ❑ Local Rule 11-3.1       Document not legible
              ❑ Local Rule 11-3.8        Lacking name, address, phone,facsimile numbers, and e-mail address
              ❑ Local Rule 11-4.1        No copy provided for judge
              ❑ Local Rule 11-6          Memorandum/brief exceeds 25 pages
              ❑ Local Rule 11-8          Memorandum/brief exceeding 10 pages shall contain table of contents
              ❑ Local Rule 15-1         Proposed amended pleading not under separate cover
              ❑ Local Rule 16-7         Pretrial conference order not signed by all counsel
              ❑ Local Rule 19-1          Complaint/Petition includes more than 10 Does or fictitiously named parties
              ❑ Local Rule 56-1          Statement of uncontroverted facts and/or proposed judgment lacking
              ❑ Local Rule 56-2          Statement of genuine disputes of material fact lacking
              ❑ Local Rule 83-2.5        No letters to the judge
              ❑ Fed. R. Civ. P. 5        No proof of service attached to documents)
              ~ Other: L.R. 83-2.2.2 Organizations. Only individuals may represent themselves pro se. No organization
             or entity of any other kind (including corporations, limited liability corporations, partnerships, limited liability
             partnerships, unincorporated associations, trusts) may appear in any action or proceeding unless represented by
             an attorney permitted to practice before this Court under L.R. 83-2.1.
   Please refer to the Court's website at www.cacd.uscourts.gov for Local Rules, General Orders,and applicable forms.

                                    ORDER OF THE JUDGE/MAGISTRATE JUDGE
 IT IS HEREBY ORDERED:

 ❑ The document is to be filed and processed. The filing date is ORDERED to be the date the document was stamped
   "received but not filed" with the Clerk. Counsel* is advised that any further failure to comply with the Local Rules may
   lead to penalties pursuant to Local Rule 83-7.


     Date                                                   U.S. District Judge / U.S. Magistrate Judge

`~J The document is NOT to be filed, but instead REJECTED, and is              DERED returned to counsel.* Counsel* shall
`~_ immediately notify, in writing, all parties previously served with t      ached documents th t ~d doc ents have not
    been filed with the Court.                              ~                ~              ~~
    Date                                                   U.S. Dist ct Judge / i•_"_
                                                                                   '  `~a'=`_~`_ ~__'a_

* The term "counsel" as used herein also includes any pro se party. See Local Rule 1-3.
       COPY 1 -ORIGINAL-OFFICE       COPY 2 -JUDGE      COPY 3 -SIGNED &RETURNED TO FILER          COPY 4 -FILER RECEIPT

CV-104A (06/13)                           NOTICE OF DOCUMENT DISCREPANCIES
      Case 5:20-cv-01717-SVW-SHK Document 16 Filed 10/08/20 Page 2 of 18 Page ID #:54




      1   FARMER'S INSURANCE

      2   810 E H St.

      3   Colton, CA    92324

      4   Mangasi Hutagaol, In Pro Per:

      5   Ludiana Mangunsong, In Pro Per:

      6

                                          U NITED STATES DISTRICT COURT
      8                               CENTRAL DISTRICT OF CALIFORNIA
      9

    to                                                                                       S N K'`
          BRYAN ESTRADA                                     No.    5:20-CV-1717 - S ~ ~ ~,
    11                       Plaintiff,
                                                            ANSWER TO COMPLAINT:
    12
                 vs.                                        By Defendants:
    13                                                      FARMERS INSURANCE,
          FARMER'S INSURANCE                                MANGASI HUTAGAOL and
    14
                         Defendant.                         LUDIANA MANGUNSONG
    15

    16

     17

     18

     19
                 Defendants, Mangasi Hutagaol and Ludiana Mangunsong,(hereinafter referred to as
     20
          ("responding defendants"). Deny, disputes, admits and/or avers to the Complaint of Plaintiff, Bryan
     21
          Estrada (hereinafter referred to as ("Plaintiff") as follows:
     22


                                                        NATURE OF ACTION
     24
                        sponding Defendants, deny any unlawful discrimination against the plaintiff, no

Q
      5
      6 0       ~~
                  u'~    rment is required to the remaining allegations in Paragraph One.

~~~J
W mu- 7
          ~
          "^
                ~~~0
                —U
                                                              PARTIES


~ Z 8     Q'
          ~~    y
                ~o~                  ANSWER TO COMPLAINT BY DEFENDANTS:
          "
          ~     ~~~        FARMERS INSURANCE, MANGASI HUTAGAOL and DULIANA MANGUNSONG

                V2
                 W
                (~ }
                   m
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                                                                      allegations in Paragraph 1 as they
1        2.      Responding Defendants, cannot admit or deny the
                                                                 s of the plaintiff, and on the basis, deny
2              lock knowledge as to the alleged disability statu
3              all allegations therein.
                                                       in Paragraph 3.
4        3. Responding Defendants deny the allegations
                                                          paragraph 4.
5        4. Responding Defendants deny the allegations in
                                                            Farmers Insurance business located at 8
6        5. Responding Defendants, admit operating the
                                                                 paragraph are denied.
            E St. Colton CA 92324. All other allegations in this
                                                                  Property located at 810 E H Street,
8        6. Responding Defendants admit owning the Real
9               Colton, California.
                                                            ance is a public accommodation, and
io       7. Responding defendants admit that Farmers Insur
                                                               ff. No averment is required to the
11          denies any harm "proximately caused to the plainti
12              remaining allegations in Paragraph 7.
13                                               J URIDICTION AND VENUE
                                                                   has subject matter jurisdiction
14        8. Responding Defendants do not dispute that this Court
                                                                   )
15           over the Americans with Disabilities Act of 1991.(ADA
                                                                    is not required to, exercise its
16        9. Responding defendants admit that the Court may, but
                                                                         pursu    ant to 28 U.S.C. section
1~               Supplemental Jurisdiction over any related State claims

18               1367(a).
                                                                         pursuant to 28 U.S.C. section 1391
19            10. Responding defendants are not disputing the Venue,

20               ~b)~2)•
                                                  STATEMENT OF FACTS
    21
                                                                          raph 11 insofar the Farmers
    22        11. Responding defendant admits the allegations in Parag

    23            Insurance Business and Leasing only, but not to the Real Property.
                                                                                    the allegations are
    24        12. Responding defendants deny all allegations in Paragraph 12, since
                                                                                            mation or
    25            overboard and not specific and responding defendant lack sufficient infor
                                                                                                  ant to Fed
    26            knowledge to from a belief as to the truth of those allegations, and thus pursu

    27

    28                                ANSWER TO COMPLAINT BY DEFENDANTS:
                                                                                UNSONG
                           FARMERS INSURANCE, MANGASI HUTAGAOL and DULIANA MANG
Case 5:20-cv-01717-SVW-SHK Document 16 Filed 10/08/20 Page 4 of 18 Page ID #:56




1
             R Civ. Pro 8(b)(5).
2
         13. Responding defendants admit a lack of diagonal striped marking only, but not the blue
3                                  Responding Defendants also admit not having atow-away signage and
             borders around.
4            Minimum Fine of $250" signage, but denies continuously from that time to the present,
5            as correction was made within the next thirty (days).   All other allegations in paragraph
6            13 are denied.

         14. Responding defendants lacks sufficient information or belief as to whether the plaintiff
8            allegedly ever "personally encountered one or more of the Barriers at the Subject
 9           Property in March, or if he ever visited the same, and based on such lack of information
io           or belief, deny all allegations in Paragraph 14.
11       15. Responding defendants deny all allegations in Paragraph 15.
12       16. Responding defendants deny all allegations in Paragraph 16.
13       17. Responding defendants deny all allegations in Paragraph 17.

14       18. Responding defendants deny all allegations in Paragraph 18.

15       19. Responding defendants deny all allegations in Paragraph 19.

16       20. Responding defendants deny all allegations in Paragraph 20.

17       21. No averment is required as to the allegations in Paragraph 21.

is       22. Responding defendants specifically deny all allegations in Paragraph 22, lines

19           5 through 9, inclusive. No averment is required to lines 1 through 4.

20       23. Responding defendants specifically deny maintaining discriminatory policies, procedure

21           and practices that disregard their obligations under the ADA" as well as deny any and all

22           violations of law.

23             FIRST CAUSE OF ACTION (Violation of Title III of the Americans with Disability Act of

24                                       1990-42 U.S.C. section 12101 et seq.)

25        24. No averment is required as to the allegations in Paragraph 24.

26        25. No averment is required as to the allegations in Paragraph

27

28                                 ANSWER TO COMPLAINT BY DEFENDANTS:
                    FARMERS INSURANCE, MANGASI HUTAGAOL and DULIANA MANGUNSONG
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1
         26. No averment is required as to the allegations in Paragraph
2
         27. No averment is required as to the allegations in Paragraph
3
         28. Defendants only admit to lack of diagonal marks inside the borders of the handicap
4
            space mark and not having a Tow Away Signage and the $250'fine but deny all other
5           allegations in Paragraph 28.
6        29. Responding defendants deny all Ada violations except the diagonal marks inside the

            borders of the parking space mark and the signage of the Tow away and $250'fine.      No
8           averment is required as to all other allegations.
9        30. Responding defendants deny all Ada violations except the diagonal marks inside the
to           borders of the parking space mark and the signage of the Tow away and $250'fine.     No

li          averment is required as to all other allegations.
12       31. Responding defendants deny all Ada violations except the diagonal marks inside the
13           borders of the parking space mark and the signage of the Tow away and $250'fine.     No

14           averment is required as to all other allegations.

15       32. Responding defendants deny all allegations in Paragraph 32.

16                                          SECOND CAUSE OF ACTION

17                                 (Violation of California Unruh Civil Rights Act)

18       33. No averment is required to the allegations in Paragraph 33.

19       34. No averment is required to the allegations in Paragraph 34.

20       35. Responding defendants deny all allegations in Paragraph 35.

21                      36. Responding Defendants deny all allegations in Paragraph 36.

22                                             RESPONSE TO PRAYER

23       Responding defendants further deny any and all requests for relief in the prayer.

24                                          AFFIRMATIVE DEFENSES

25                       First Affirmative Defense (Failure to State a Cause of Action)

26       As a First and separate Affirmative Defense, Respondent Defendants' allege that the

27

28                             ANSWER TO COMPLAINT BY DEFENDANTS:
                   FARMERS INSURANCE, MANGASI HUTAGAOL and DULIANA MANGUNSONG
Case 5:20-cv-01717-SVW-SHK Document 16 Filed 10/08/20 Page 6 of 18 Page ID #:58




 1
     complaint, and each cause of action therein, fails to state facts sufficient to constitute a cause of
2
     action against the Responding Defendants, in      that, among other things, the plaintiff claims that he
 3
     personally encountered one or more barriers' "in March of 2020 at the Subject Property but he fails
 4
     to allege whether he actually entered the Farmers Insurance Business, parked or even attempted to
5    park a vehicle in the parking lot of the Subject property, that he could not have 'personally
6    encountered' any alleged barriers and did not provide an exact or approximate date in March when

     he said the incident happened and therefore, he fails to state a claim under FRCP 12(b)(6).
 8   Further, see also Cal Civ. Code section 55.56(b) which requires that the plaintiff to have 'personally
 9   encountered' the alleged violation in order to assert a State claim.
io                                          SECOND AFFIRMATIVE DEFENSE
11                                                 (lack of Standing)
12           For a second and separate affirmative Defense, Responding Defendants alleges that the
13   plaintiff has no standing 9FRCP 12 (b)(1). In that, among other things, he never visited the Subject
14   Premises, and is not known by the defendants or any employee of Farmers Insurance, and further,
15   the plaintiff lacks a genuine "intent to return" to 'Farmers Insurance' and/or he has not been
16   ~ deterred from returning to the stated premises. The Plaintiff has not suffered an injury-in-fact
l~   that is concrete and particularized to satisfy Article III standing.(Spoken, Inv. V Robins, 136 S. Ct.,

18   1540, 1543(2016.

19                                            THIRD AFFIRMATIVE DEFENSE

20           For a Third and separate Affirmative Defense, Responding Defendants allege that the

21   complaint is time barred pursuant to, among other laws, 28 U.S.C. Section 1658(a) as well as Cal.

22   Code of Civil Procedure sections 335.1, 337, 338, 339 and 340.

23                                           FOURTH AFFIRMATIVE DEFENSE

24                                            (Uncertainty of Allegations)

25           For a Fourth and separate Affirmative Defense, Responding Defendants alleged that the

26   ~ complaint, and each of its two purported Causes of Action is so uncertain and vague, in that, among

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28                                 ANSWER TO COMPLAINT BY DEFENDANTS:
                       FARMERS INSURANCE, MANGASI HUTAGAOL and DULIANA MANGUNSONG
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1
     other things, the plaintiff too generally alleges that the Subject Property, does not comply with the
2
     minimum requirements of the ADA'. The plaintiff also does not indicate how his alleged physical
3
     disability specifically prevented him from gaining access as to each alleged barrier. See Cal. Code
4                                          There are no allegations to show injury in fact"
     of Civil Procedure 425.50(a)(1)(2).
5

6                                             FIFTH AFFIRMATIVE DEFENSE
7                                                     Dishonest Acts
8           For a Fifth and separate Affirmative Defense, Responding Defendants are informed and
 9   believe and thereon allege, that the Plaintiff never 'visited' the defendants' premises and thus the
io   plaintiff never personally encountered any of the accessibility barriers at the defendant's premises.
11          Defendants discovered that just from November 7. 2019 through September 28, 2020
12   Plaintiff Bryan Estrada has filed (59) ADA cases in the Central District alone, and thus the plaintiff is a
13   serial litigant his accusations are dishonest.   Please, see History of Cases filed by the Defendant as

14   Exhibit 1.
15                                            SIXTH AFFIRMATIVE DEFENSE

16                                         (alleged Acts Were Not Intentional)

i~           For a Sixth and separate Affirmative Defense, Responding Defendants alleges that the

18   discriminatory actions claimed by the plaintiff were not intentional.      As a result, the plaintiff is not

19   entitled to the relief requested in the complaint.

20                                           SEVENTH AFFIRMATIVE DEFENSE

21                (Statutory Damages' Limited To `Particular A Visit,'Not The Number of Construction

22                     Accessibility Barrier Violations-California Civil Code section 55.56 (f)

23           For a Seventh and separate Affirmative Defense, any 'statutory damages under the Unruh

24   Civil Rights Act (California Civil Code sections 51(f)et seq.) are limited to the 'particular visit' claimed

25   by the plaintiff to the defendant's 'Property, and not upon the number of violations of construction-

26   related accessibility standards identified at the place of public accommodation where the denial of

27

28                                  ANSWER TO COMPLAINT BY DEFENDANTS:
                        FARMERS INSURANCE, MANGASI HUTAGAOL and DULIANA MANGUNSONG
Case 5:20-cv-01717-SVW-SHK Document 16 Filed 10/08/20 Page 8 of 18 Page ID #:60




1
     full and equal access allegedly occurred.
2
                                              EIGHT AFFIRMATIVE DEFENSE
3
                Technical Violations' Are Presumed Not To Cause A Person Difficulty. Discomfort, or
4
        Embarrassment for Purposes of California Unruh Statutory Damages —Cal Civ. Code Section
5                                                    55.56 e 1
6           For Eight Affirmative Defense Responding Defendants alleges that there is no liability under

     the Cal. Unruh Act for 'technical violations,'including but not limited to, faded signs, 'interior signs..
8    that identify the location of accessible '(Cal. Civ. Code sections 55.56€(1)(A)(B).(Emphasis added)
 9                                           NINTH AFFIRMATIVE DEFFENCE
io              Reduction of "Statutory Damages" To Minimum of $2,000.00 —Cal. Civil Code Section
11                                                  55.56(q)(2).
12           For a Ninth and separate Affirmative Defense, Responding Defendants allege that they are a
13   "Small Business" (i.e, with less than twenty-five (25) employees and having gross receipt of less than
14   three million five hundred thousand dollars ($3,500,000.00) over the previous three (3) years as
15   defined by Cal Civ. Code section 55.56(G)*2)(B), and any accessibility barrier that is corrected within
16   30 days of being served with the complaint, limits the recovery of th plaintiff to two thousand
1~   dollars ($2,000.00)for each alleged offense.

18                                            TENTH AFFIRMATIVE DEFENSE

19                                               Plaintiff's Claims Are Moot)

20           For a Tenth and separate Affirmative Defense, Responding Defendants allege that all claim

21   barrier have been already remover or will be removed within sixty (60) days of service of the

22   Complaint, thereby rendering all of the plaintiff's claims moot, and divesting him of standing.

23           WHEREFORE, Responding Defendants' pray for judgment as follow:

24                  (1) That the Plaintiff takes nothing by his complaint on filed

25                  (2) That the Plaintiff be denied Attorney's Fees.

26                  (3) That Judgment be entered against the Plaintiff and in Favor of Respondin

27

28                                  ANSWER TO COMPLAINT BY DEFENDANTS:
                       FARMERS INSURANCE, MANGASI HUTAGAOL and DULIANA MANGUNSONG
Case 5:20-cv-01717-SVW-SHK Document 16 Filed 10/08/20 Page 9 of 18 Page ID #:61




1
                         Defendants.
2
                   (4) That The Court Bars Plaintiff from continuing filing so many complains an
3
                         harming Small Business Owners, as he fails to Show Cause in his complains an
4                        voluntarily dismisses the cases after settlements outside the Court or for lack c
5                        prosecution and failure to show cause after ordered by the Court.     Please, se
6                        Exhibit 1.
7                   (5) For such other relief as this Court may deem just and proper.
8

 9      Date:   _ r /fir ~
io                                                 Defendan Mangasi Hutagaol, In Pro Per
ii
12

13
        Date:    `/fir
14
                                                   Defendant, Ludiana Mangunsong, In Pro Per
15

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28 II                                 ANSWER TO COMPLAINT BY DEFENDANTS:
                       FARMERS INSURANCE, MANGASI HUTAGAOL and DULIANA MANGUNSONG
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                                   •        •
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                         Query   Reports          Utilities          Help       Log Out



                                     Select A Case


                           Bryan Estrada is a plaintiff in 60 cases.


  5:19-cv-02160-     Bryan Estrada v. Loyal Order of
                                                                           filed 11/07/19 closed 01/27/20
  JGB-SHK            Moose Lodge No 1439


   5:19-cv-02169-    Bryan Estrada v. San Jacinto Group                    filed 11/12/19 closed 07/01/20
   JGB-KK            LLC et al


   5:19-cv-02199-    Bryan Estrada v. Ibrihim Jalal                        filed 11/15/19 closed 01/13/20
   FMO-SP            Rahman et al


   5:19-cv-02218-    Bryan Estrada v. Young Kook Kim et filed 11/20/19 closed 01/28/20
   AB-SHK            al


   5:19-cv-02246-     Bryan Estrada v. Fleming Family
                                                                           filed 11/25/19 closed 01/27/20
   RGK-SP             LTD Partnership et al

   5:19-cv-02258-                                                          filed 11/26/19 closed 02/03/20
                      Bryan Estrada v. Credo, LLC et al
   VAP-SK

   5:19-cv-02339-     B~,an Estrada v. Elvira Martinez et al filed 12/05/19 closed 02/13/20
   JGB-KK

   5:19-cv-02349-     Bryan Estrada v. Wanggi Investment                    filed 12/06/19 closed 02/19/20
   JGB-SHK            Co. et al

   5:19-cv-02360-     Bryan Estrada v. Frome
                                                                            filed 12/09/19 closed 03/09/20
   JGB-SP             Developments Omega,LLC et al


   5:19-cv-02374-     Bryan Estrada v. Sunnymead                            filed 12/11/19 closed 02/19/20
        Case 5:20-cv-01717-SVW-SHK Document 16 Filed 10/08/20 Page 12 of 18 Page ID #:64
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  SP                            Holdings LLC et al

  5:20-cv-00181- Bryan Estrada v. Nancy Carol Hom et filed 01/27/20 closed 05/01/20
  PA-SP          al

  5:20-cv-00186- Bryan Estrada v. Solamar LLC et al                                               filed 01/28/20 closed 04/16/20
  DMG-KK

  5:20-cv-00196- Bryan Estrada v. Richard L.                                                      filed 01/29/20 closed 03/11/20
  FMO-SHK        Richardson et al

  5:20-cv-00219- Bryan Estrada v. CHW Las                                                         filed 02/03/20 closed 07/07/20
  JGB-SHK        Haciendas Development, LLC et al

   5:20-cv-00225- Bryan Estrada v. Calle Cortez, LLC et filed 02/04/20 closed 07/01/20
   JGB-SP         al

   5:20-cv-00238- B~, Estrada v. KER,LLC et al                                                        filed 02/06/20 closed 03/17/20
                     an
   JGB-SHK

   5:20-cv-00247- Bryan Estrada v. Fair Oaks Valley,                                                  filed 02/07/20 closed 06/23/20
   JGB-SP         LLC et al

   5:20-cv-00267- Bryan Estrada v. Rajcic Brothers                                                    filed 02/11/20 closed 04/15/20
   JGB-KK         Partners, LLC et al

   5:20-cv-00308-                                                                                     filed 02/18/20 closed 04/15/20
                                 Bryan Estrada v. JNC,LLC et al
   JGB-SP

   5:20-cv-00323- Bryan Estrada v. MHC 13 Hemet CA filed 02/19/20 closed 07/13/20
   ODW-SHK        LLC et al

   5:20-cv-00338-                Bryan Estrada v. Nancy J. Hubbert et filed 02/20/20 closed 05/01/20
   PA-SHK                        al

   5:20-cv-00352- Bryan Estrada v. Vicos Investment,                                                  filed 02/21/20 closed 05/01/20
   PA-SHK         LLC et al

 httos://ecf.cacd.uscourts.aov/cai-bin/iauerv.pl?709004662700825-L 1 1-0-2042343-pty-pla -plaintiff                                    2/6
        Case 5:20-cv-01717-SVW-SHK Document 16 Filed 10/08/20 Page 13 of 18 Page ID #:65
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  5:20-cv-00374-     Bryan Estrada v. Marla Rayleen
                                                                           filed 02/25/20 closed 05/15/20
  SVW-SHK            Greene et al

  5:20-cv-00382-     Bryan Estrada v. Freeda Mae Marada
                                                        filed 02/26/20 closed 06/12/20
  JGB-SP             et al

  5:20-cv-00390-     Bryan Estrada v. 625 W. La Cadena
                                                                           filed 02/27/20 closed 04/02/20
  RGK-SHK            LLC et al

  5:20-cv-00397-
                     Bryan Estrada v. Teresa L. Cook et al filed 02/28/20 closed 05/19/20
  JGB-KK

  5:20-cv-00414-     Bryan Estrada v. Motte Country
                                                                           filed 03/02/20 closed 05/08/20
  JGB-KK             Plaza, LLC et al

  5:20-cv-00428-     Bryan Estrada v. Terry L Lambert et
                                                                           filed 03/03/20 closed 04/30/20
  JGB-KK             al

   5:20-cv-00439-    Bryan Estrada v. Grelbriche
                                                                           filed 03/04/20 closed 05/07/20
   JGB-SHK           Properties, LLC et al

   5:20-cv-00462-                                                          filed 03/06/20 closed 04/13/20
                      Bryan Estrada v. John W. Vigil et al
   JGB-SHK

   5:20-cv-00468-     Bryan Estrada v. Storage Portfolio II
                                                                           filed 03/09/20 closed 05/08/20
   KK                 Subsidiary, LLC et al

   5:20-cv-00522-     Bryan Estrada v. Robert G. Andrei et
                                                                           filed 03/13/20 closed 05/04/20
   PA-KK              al

   5:20-cv-00597-     Bryan Estrada v. Sri Sai Ram,Inc. et
                                                                            filed 03/25/20 closed 06/03/20
   FMO-KK             al

   5:20-cv-01271-
                      Bryan Estrada v. 4M Investments et al filed 06/25/20 closed 09/02/20
   DSF-SP

   5:20-cv-01286-     Bryan Estrada v. Ralph A Allen et al                  filed 06/26/20
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9/30/2020,                          CM/ECF -California Central District-Query :Case Search

  RSWL-SP

  5:20-cv-01298-     Bryan Estrada v. J. Charles Binder et
                                                                          filed 06/29/20
  MWF-SHK            al

  5:20-cv-01314-     Bryan Estrada v. Arlington Auto
                                                                           filed 06/30/20 closed 09/10/20
  JGB-KK             Center, LLC et al

  5:20-cv-01388-     Bryan Estrada v. 6906 Brockton, LLC
                                                         filed 07/14/20 closed 09/29/20
  JGB-SP             et al

  5:20-cv-01402-
                 Bryan Estrada v. Lam Kirner et al                         filed 07/16/20
  J B-SHK

  5:20-cv-01406- Bryan Estrada v. Monika Kumari
                                                                          filed 07/17/20 closed 09/16/20
  JAK-SP         Badyal et al

  5:20-cv-01439- Bryan Estrada v. Bonnett Irrigation,
                                                                           filed 07/21/20
  RGK-KK         Inc. et al

  5:20-cv-01451-     Bryan Estrada v. Eula Fay Askew et
                                                                           filed 07/22/20
  JFW-SP             al

  5:20-cv-01463- Bryan Estrada v. Cherokee Funding,
                                                                           filed 07/23/20 closed 09/23/20
  PA-SP          LLC et al

  5:20-cv-01588- Bryan Estrada v. The Pines
                                                                           filed 08/10/20
  SB-KK          Apartments et al

   5:20-cv-01602-
                      Bryan Estrada v. Robert Sirotnik et al filed 08/11/20
   J B-SHK

   5:20-cv-01605-     Bryan Estrada v. VPM Colony, L.P. et
                                                           filed 08/11/20
   JGB-KK             al

   5:20-cv-01614-     Bryan Estrada v. Herbert Gordon
                                                                           filed 08/12/20
   JGB-SP             Rudh et al
        Case 5:20-cv-01717-SVW-SHK Document 16 Filed 10/08/20 Page 15 of 18 Page ID #:67
9/30/2020.                          CM/ECF -California Central District-Query :Case Search


  5:20-cv-01645-     Bryan Estrada v. Livescan
                                                                           filed 08/17/20 closed 09/14/20
  FMO-KK             Fingerprinting et al

  5:20-cv-01664-     Bryan Estrada v. California Dental                    filed 08/18/20
  VAP-SP             Group et al

  5:20-cv-01679-     Bryan Estrada v. Pedley Veterinary
                                                                           filed 08/19/20
  JAK-KK             Hospital et al

  5:20-cv-01703-
                     Bryan Estrada v. A Storage Place et al filed 08/24/20
  FMO-SP

  5:20-cv-01717-     Brian Estrada v. Farmer's Insurance et fi
                                                              led 08/25/20
  SVW-SHK            al

  5:20-cv-01726-
                     Bryan Estrada v. Lulus Hideout et al                  filed 08/26/20
  JAK-SHK

  5:20-cv-01733-     Bryan Estrada v. Holiday Inn Hotel et
                                                           filed 08/27/20
  JFW-SP             al

   5:20-cv-01771-    B~,an Estrada v. Rio Inn Motel et al                  filed 08/31/20 closed 09/23/20
   JGB-SHK

   5:20-cv-01797-     Bryan Estrada v. Corona Animal
                                                                           filed 09/01/20
   JGB-SHK            Hospital et al

   5:20-cv-01808-     Bryan Estrada v. VCA Aacacia
                                                                           filed 09/02/20
   JGB-SHK            Animal Hospital et al

   5:20-cv-02011      Estrada v. Tanis Beauty Salon et al                  filed 09/29/20

   5:20-cv-02022      Estrada v. Burgesons A/C et al                       filed 09/30/20

                      Bryan Estrada v. Loyal Order of
   8:19-cv-02146                                                           filed 11/07/19 closed 11/08/19
                      Moose Lodge No 1439
   Case 5:20-cv-01717-SVW-SHK Document 16 Filed 10/08/20 Page 16 of 18 Page ID #:68



                                                                                                                                         POS-040
ATTORNEY OR PARTY WITHOUT ATTORNEY:       STATE BAR NO:                                                    FOR COURT USE ONLY
NAME: MANGASI HUTAGAOL
FiRMNAME: FARMERS INSURANCE
STREET ADDRESS: $'~O E H STREET
aTv: COLTON                                               STATE: C/~   zia coos: 82324
TELEPHONE NO.: ~909~]$3-]]S$                              FAX NO.:

E-MAIL ADDRESS:
ATTORNEY FOR (name): IN PRO PER

SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
 STREETADDRES5:34~0 TWELFTH ST
 MAILING ADDRESS:
CITY AND ZIP CODE:RIVERSIDE, CA       92501
    BRANCH NAME:
                                                                                            CASE NUMBER:
                                                                                                                   ~K~~
       Plaintiff/Petitioner: RRvgN FSTRana                                                  5:20-CV-01717 ~s~`^~~y
DefendanURespondent:FgRnnFRS iNGiiRaN~F                   FT AI
                                                                                            JUDICIAL OFFICER:
                       PROOF OF SERVICE—CIVIL
  Check method of service (only one):
                                                                                            DEPARTMENT'
  0By Personal Service          Qx By Mail ~ By Overnight Delivery
            By Messenger Service        0By Fax

                         Do not use this form to show service of a summons and complaint or for electronic service.
                                                    See USE OF TMIS FORM on page 3.
1. At the time of service I was over 18 years of age and not a party to this action.
2. My residence or business address is:
    6659 SCULLY WAY RIVERSIDE, CA 92508

3. ~ The fax number from which I served the documents is (complete if service was by fax):

4. On (date): 09/29/2020            I served the following documents (specify):
     ANSWER TO COMPLAINT by Defendants, Farmers Insurance, Mangasi Hutagaol and Ludiana Mangunsong
                                                                                                                RECEIVED
            The documents are listed in the Attachment to Proof of Service-Civil(Documents Se      d)(form POS-040(~~,J'~
                                                                                                                NOT FILED
5. I served the documents on the person or persons below, as follows:
   a. Name of person served: BRYAN ESTRADA. C/O LAW OFFICES OF ROSS CORNELL.
    b.0(Complete if service was by personal service, mail, overnight delivery, or messeng r service             SC~a 3~
                                                                                                                                      7~2~
         Business or residential address where person was served:
         5042 Wilshire Blvd #46382 Los Angeles, CA 90036                                             CLERK, U.S. DISTRICT COURT
    c.0(Complete if service was by fax.)                                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                                                        SOUTHERN DIVISION
         Fax number where person was served:                                                      BY                        DEPUTY

                 The names, addresses, and other applicable information about persons served is on the Attachment to Proof of Service—
                 Civil(Persons Served)(form POS-040(P)).

6. The documents were served by the following means (specify):
    a.0By personal service. I personally delivered the documents to the persons at the addresses listed in item 5.(1) For a
       party represented by an attorney, delivery was made (a) to the attorney personally; or (b) by leaving the documents at the
       attorney's office, in an envelope or package clearly labeled to identify the attorney being served, with a receptionist or an
       individual in charge of the office; or (c) if there was no person in the office with whom the notice or papers could be left, by
       leaving them in a conspicuous place in the office between the hours of nine in the morning and five in the evening.(2) For
       a party, delivery was made to the party or by leaving the documents at the party's residence with some person not
       younger than 18 years of age between the hours of eight in the morning and eight in the evening.

                                                                                                                                              Page 1 of 3

Form Approved for Optional Use                                                                             Code of Civil Procedure, §§ 1011, 1013, 1013a,
Judicial Council of California
                                                          PROOF OF SERVICE—CIVIL                                   2015,5; Cal. Rules of Court, rule 2.306
POS-040[Rev. January 1, 2020]                                (Proof of Service)                                                        www.courts.ca.gov
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                                                                                                                                      POS-040
  CASE NAME:                                                                                       CASE NUMBER:
  BRYAN ESTRADA VS FARMERS INSURANCE


6. b. Ox         By United States mail. I enclosed the documents in a sealed envelope or package addressed to the persons at the
                 addresses in item 5 and (specify one):

             deposited the sealed envelope with the United States Postal Service, with the postage fully prepaid.
         (1) Ox
         (2)0placed the envelope for collection and mailing, following our ordinary business practices. I am readily familiar with this
             business's practice for collecting and processing correspondence for mailing. On the same day that correspondence
             is placed for collection and mailing, it is deposited in the ordinary course of business with the United States Postal
             Service, in a sealed envelope with postage fully prepaid.
          am a resident or employed in the county where the mailing occurred. The envelope or package was placed in the mail at
        (city and state):
    c. ~ By overnight delivery. I enclosed the documents in an envelope or package provided by an overnight delivery carrier
         and addressed to the persons at the addresses in item 5. I placed the envelope or package for collection and overnight
         delivery at an office or a regularly utilized drop box of the overnight delivery carrier.
     d.0By messenger service. I served the documents by placing them in an envelope or package addressed to the persons at
        the addresses listed in item 5 and providing them to a professional messenger service for service.(A declaration by the
        messenger must accompany this Proof of Service or be contained in the Declaration of Messenger below.)
     e. ~ By fax transmission. Based on an agreement of the parties to accept service by fax transmission, I faxed the documents
          to the persons at the fax numbers listed in item 5. No error was reported by the fax machine that I used. A copy of the
          record of the fax transmission, which I printed out, is attached.




  declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

 Date: 09/29/2020
                                                                                                c.~~
 MARIA ELENA ROBLES
                    (TYPE OR PRINT NAME OF DECLARANT)                                             (SIGNATURE OF DECLARANT)

(If item 6d above is checked, the declaration below must be completed or a separate declaration from a messenger must be attached.)

                                                        DECLARATION OF MESSENGER

         By personal service. I personally delivered the envelope or package received from the declarant above to the persons at the
         addresses listed in item 5.(1) For a party represented by an attorney, delivery was made (a)to the attorney personally; or(b) by
         leaving the documents at the attorney's office, in an envelope or package clearly labeled to identify the attorney being served,
         with a receptionist or an individual in charge of the office; or (c) if there was no person in the office with whom the notice or
         papers could be left, by leaving them in a conspicuous place in the office between the hours of nine in the morning and five in the
         evening.(2) For a party, delivery was made to the parry or by leaving the documents at the party's residence with some person
         not younger than 18 years of age between the hours of eight in the morning and eight in the evening.


         At the time of service, I was over 18 years of age. I am not a party to the above-referenced legal proceeding.

          served the envelope or package, as stated above, on (date):

  declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
 Date:



                            (NAME OF DECLARANT)                                                   (SIGNATURE OF DECLARANT)




 POS-040(Rev. January 1, 2020]                          PROOF OF SERVICE—CIVIL                                                          Page 2 of 3

                                                           (Proof of Service)
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                                                                                                                      POS-040
                                INFORMATION SHEET FOR PROOF OF SERVICE—CIVIL
(This information sheet is not part of the official proof of service form and does not need to be copied, served, or filed.)
 USE OF THIS FORM

 This form is designed to be used to show proof of service of documents by (1) personal service,(2) mail,(3) overnight
 delivery,(4) messenger service, or (5)fax.

 This proof of service form should not be used to show proof of service of a summons and complaint. For that purpose,
 use Proof of Service of Summons(form POS-010).
 Also, this proof of service form should not be used to show proof of electronic service. For that purpose, use Proof of
 Electronic Service (form POS-050).
 Certain documents must be personally served. For example, an order to show cause and temporary restraining order
 generally must be served by personal delivery. You must determine whether a document must be personally delivered or
 can be served by mail or another method.
 GENERAL INSTRUCTIONS
 A person must be over 18 years of age to serve the documents. The person who served the documents must complete
 the Proof of Service. A party to the action cannot serve the documents.
 The Proof of Service should be typed or printed. If you have Internet access, a fellable version of this proof of service form
 is available at www.courts.ca.gov/forms.htm.
 Complete the top section of the proof of service form as follows:
 First box. left side: In this box print the name, address, and telephone number of the person for whom you served the
 documents.
 Second box, left side: Print the name of the county in which the legal action is filed and the court's address in this box.
 The address for the court should be the same as the address on the documents that you served.
 Third box. left side: Print the names of the plaintiff/petitioner and defendant/respondent in this box. Use the same names
 as are on the documents that you served.
 Fourth box. left side: Check the method of service that was used. You should check only one method of service and
 should show proof of only one method on the form. If you served a party by several methods, use a separate form to show
 each method of service.
 First box. top of form, right side: Leave this box blank for the court's use.
 Second box, right side: Print the case number in this box. The case number should be the same as the case number on
 the documents that you served.
 Third box. right side: State the judge and department assigned to the case, if known.
 Complete items 1-6:
 1. You are stating that you are over the age of 18.
 2. Print your home or business address.
 3. If service was by fax service, print the fax number from which service was made.
 4. List each document that you served. If you need more space, check the box in item 4, complete the Attachment to
    Proof of Servic~Civil(Documents Served)(form POS-040(D)), and attach it to form POS-040.
 5. Provide the names, addresses, and other applicable information about the persons served. If more than one person
    was served, check the box on item 5, complete the Attachment to Proof of Service—Civil(Persons Served)(form
    POS-040(P)), and attach it to form POS-040.
 6. Check the box before the method of service that was used, and provide any additional information that is required.
    The law may require that documents be served in a particular manner (such as by personal delivery) for certain
    purposes. Service by fax generally requires the prior agreement of the parties.

 You must sign and date the proof of service form. By signing, you are stating under penalty of perjury that the
 information that you have provided on form POS-040 is true and correct.


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                                                      PROOF OF SERVICE—CIVIL
                                                         (Proof of Service)
 For your protection and privacy, please press the Clear
 This Form button after you have printed the form.         PYlllt thlS fOfll'1   Save this form                Clear this form
